412 F.2d 303
    R.E.D.M. CORPORATION, Plaintiff-Appellant,v.Joseph LO SECCO, Contracting Officer, Department of theArmy, United States Government, Defendant-Appellee.
    No. 618, Docket 33001.
    United States Court of Appeals Second Circuit.
    Argued June 5, 1969.Decided June 24, 1969.
    
      James V. Joy, Jr., New York City, E. Barrett Prettyman, Jr., Washington, D.C. for plaintiff-appellant.
      David Paget, Michael D. Hess, Asst. U.S. Attys., Robert M. Morgenthau, U.S. Atty., for defendant-appellee.
      Before WATERMAN, FRIENDLY and KAUFMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      This is an appeal from the judgment of the United States District Court for the Southern District of New York filed on September 27, 1968 (Bonsal, J.), 291 F.Supp. 53, dismissing appellant's mandamus action against appellee, a United States Department of Army Contracting Officer, by which appellant sought to receive additional findings to those filed by the Contracting Officer when he denied appellant's claim for an equitable upward adjustment in appellant's contract price.
    
    
      2
      We affirm the district court below on the ground that appellant, who had not received a final 'de novo' adjudication pursuant to the 'Disputes Clause' of its contract, had not exhausted its intraagency remedies before the Armed Services Board of Contract Appeals to which appellant had appealed the Contracting Officer's adverse decision.
    
    
      3
      Affirmed.
    
    